      Case: 1:19-cv-06014 Document #: 4 Filed: 09/06/19 Page 1 of 1 PageID #:15
         [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]



        U.S. District Court for the Northern District Of lllinois
                   Appearance Form for Pro Se Litigants


lnformation entered on this form is required for any person filing a case in this court as a pro se
party (that is, without an attorney). PIease PRINT
                                                   r^-!Lr--

                                                                    19-cv-06014
                                                                   1:
                                                                  Judge John Z. Lee
Case Title:                                                       Magistuate Judge JetuY CummingT

An appearance is hereby filed by the undersigned as a pro se litigant:


Name:                       Q*ul-                   A. \lftqAveL
Street Address:            ?ZzL w. 6qt\ Pe
City/State/Zip:            c t+f,ov+6o                    1t L                      60A21
Phone Number:



                                                                                            0€-sQ-P-
                                                                                          Executed on (date)
                                                                                                                          t1



                  REQUEST TO RECEIVE NOTICE THROUGH E.MAIL
lf you check the box below and provide an e-mail address in the space provided, you will receive notice
vii e-mail. By checking the box and providing an e-mail address, under Federal Rule of Civil Procedure
S(b)2(E) you are waiving your right to receive a paper copy of documents filed electronically in this case.
You should not provide an e-mail address if you do not check it frequently.

EI      I request to be sent notices from the court via e-mail. I understand that by making this request,                  I


        am waiving the right to receive a paper copy of any electronically filed document in this case. I
        understand that if my e-mail address changes I must promptly notify the Court in writing.


 \tftS a,vEL a.nuL;q @ q Mqi\ "com                                                                    FILED
E-Mait Address (Please PRINT legibly.)

                                                                                                         sEP 06 2019I/,
                                                                                                TI{OMAS G BRUTON
                                                                                              CLERK U.S. DISTRICT @URT
 Rev.06123/2016

                                                                                     sheet and reference that section.]
          [lf you need additional space for ANY section, please attach an additional
